
668 S.E.2d 25 (2008)
In the Matter of The ESTATE of John Van LINDLEY.
appealed by Virginia L. Livingston and Virginia L. Simpson.
No. 436P07.
Supreme Court of North Carolina.
October 9, 2008.
Paul Stam, Apex, W. Eric Medlin, Greensboro, for Livingston &amp; Virginia L. Simpson.
Vance Barron, Jr., Greensboro, for Nexsen Pruet Adams Kleemeier.
William E. Wheeler, High Point, for Walter L. Hannah.
Elizabeth B. Johnson, Pro Se.
John Van Lindley, Jr., Pro Se.
Karen Carter Martin, Pro Se.

ORDER
Upon consideration of the petition filed on the 7th day of September 2007 by Respondent (Virginia L. Livingston and Virginia L. Simpson) in this matter for discretionary review of the decision of the North Carolina *26 Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 9th day of October 2008."
